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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA                           20 Cr. 412 (AT)
            v.
BRIAN KOLFAGE,                                     FILED UNDER SEAL
STEPHEN BANNON,
ANDREW BADOLATO, and
TIMOTHY SHEA
                                Defendants.




NON-PARTIES’ REPLY IN FURTHER SUPPORT OF MOTION TO MODIFY
    SEALED POST-INDICTMENT RESTRAINING ORDER, OR FOR
                DISCLOSURE AND A HEARING


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November 2, 2020
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      Non-parties, We Build the Wall, Inc., and Kris Kobach, both in his individual

and representative capacity, submit this reply in further support of their Motion (i)

to modify the Sealed Post-Indictment Restraining Order (the “Order”); or (ii) for dis-

closure to the movants of the portions of the government’s sealed application and

affidavit upon which the Court relied in issuing the Order restraining We Build the

Wall’s funds, and (iii) for a hearing on whether the Order should be modified.

      The non-parties’ motion explained in detail that the Court’s Order restrained

funds that, as a matter of law, cannot be the proceeds of the fraud charged in the

Indictment. The gravamen of the Indictment is that the defendants defrauded donors

by representing that Mr. Kolfage would not be compensated for his work on behalf of

We Build the Wall, but then diverted money from We Build the Wall to compensate

Mr. Kolfage (and other defendants). As the Indictment acknowledges, We Build the

Wall’s website was updated on or about January 1, 2020, to disclose that Mr. Kolfage

would be compensated. That disclosure ended any purported fraud on the donor com-

munity regarding Mr. Kolfage’s compensation. Thus, donations received well after

that date—i.e., the approximately $1.6 million received on or after February 1, 2020—

logically and legally have no nexus to the fraud and are not subject to forfeiture. Those

funds should therefore be released so that We Build the Wall can pursue its mission,

including ongoing efforts to (a) transfer title of the constructed section of wall in Sun-

land Park, New Mexico, to the Department of Homeland Security; (b) build a third

section of wall in a location selected from a list published by the Department of Home-

land Security; (c) pay existing invoices for services rendered in pursuit of the mission;



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and (d) pay expenses occasioned by the legal issues related to the government’s in-

dictment.

      The Motion also explained the legal context in which it arises, including the

Fifth Amendment’s guarantee that “[n]o person shall . . . be deprived of property

without due process of law.” (Motion at 12-13). The Motion explained that, according

to the Supreme Court, the grand jury’s determination that there is probable cause to

believe the defendants committed the charged crimes is conclusive on that issue, but

that that finding is necessary, but not sufficient, to restrain assets because there must

also be probable cause to believe “that the property at issue has the requisite connec-

tion to that crime.” (Motion at 14-15 (analyzing and quoting Kaley v. United States,

571 U.S. 320, 323-24 (2014))). As the Motion argued (and as the government concedes

(Opposition at 11)), the grand jury made no finding regarding this requirement for

restraint—the purported “probable cause” needed to connect the property at issue to

the charged crime was based on an ex parte, sealed application and affidavit.

      The Motion explained that Title 21, United States Code, Section 853(k) , does

not apply here because the movants are not seeking to intervene to assert an interest

in property “subject to forfeiture,” they are seeking due process to protect property

that is legally and logically unconnected to the purported fraud—i.e., property that is

not “subject to forfeiture.” (Motion at 18 n.5). The Motion also explained that the Sec-

ond Circuit cases invoking Section 853(k) all involved post-conviction forfeiture or-

ders, one of them discussed Section 853(k) in dicta (De Almeida v. United States, 459

F.3d 377, 381 (2d Cir. 2006)), in another (DSI Associates LLC v. United States, 496



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F.3d 175, 183-84 (2d Cir. 2007)), the claimant conceded that Section 853(k) barred

intervention, and a third (United States v. Watts, 786 F.3d 152, 175 (2d Cir. 2015))

simply cited the first two.

       In response, the government’s opposition unabashedly embraces its extrajudi-

cial and unilateral efforts to restrain assets by fiat by threatening criminal investi-

gation or prosecution (Opposition at 14), and claims that any such extra-judicial

threats are beyond the Court’s purview and should be “disregarded” (Opposition at

3). The opposition further argues that there is no due process, statutory, or rule-based

right for a non-defendant to challenge an ex parte and sealed restraint of the non-

defendant’s bank accounts; in the government’s view, only a defendant can challenge

such a restraint. (Opposition at 8-9). The government’s position is inconsistent with

controlling Supreme Court and Second Circuit case law, as well as the demands of

the Constitution and the applicable statutes. The motion should be granted.

                                      ARGUMENT

I.   THE APPLICABLE STATUTES DO NOT AUTHORIZE PRETRIAL RESTRAINT

       As the Motion anticipated it would, the government invokes Section 853 and

claims that it permits the ex parte, no hearing, restraint the government posits, and

that it bars the Motion. Section 853 does neither.

       It is helpful to start with the text of the applicable statutes. Title 21, United

States Code, Section 853 does not directly apply to this case at all, since Section 853

is part of the Comprehensive Drug Abuse Prevention and Control Act of 1970, Pub.

L. 91-513, Title II, Section 413, and by its terms permits an order of forfeiture to be



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entered against “[a]ny person convicted of a violation of this subchapter [relating to

illegal distribution of narcotics] or subchapter II [relating to illegal import and export

of narcotics].” 21 U.S.C. § 853(a). Since this is not a drug prosecution, Section 853 is

only relevant—if at all—through the interaction of other forfeiture statutes.

       Simple wire fraud (the crime charged here) is only referenced as a predicate

crime for civil forfeiture pursuant to Title 18, United States Code, Section

981(a)(1)(C); it is not among the crimes listed in the criminal forfeiture statutes at

all. See 18 U.S.C. § 982 (“Criminal Forfeiture”; not including wire fraud unless certain

specific characteristics (not present here) are also involved); 18 U.S.C. § 1963 (crimi-

nal forfeiture relating to RICO crimes); 21 U.S.C. § 853 (criminal forfeiture relating

to narcotics crimes). While section 982 (the criminal forfeiture statute) cross-refer-

ences Title 21, United States Code, Section 853, see 18 U.S.C. § 982(b), the civil for-

feiture statute does not.1

       Thus, the only mechanism for bringing a criminal forfeiture action for simple

wire fraud is through a “catch-all” provision enacted as part of the Civil Asset Forfei-

ture Reform Act of 2000. That provision, as amended in 2006, appears in Title 28,

United States Code, Section 2461(c), and provides that whenever civil forfeiture is

authorized, a criminal forfeiture action may also be pursued against a criminal de-

fendant:




1 While the Indictment also charges money laundering, which is a predicate crime for criminal forfei-
ture, see 18 U.S.C. § 982(a)(1), the funds in We Build the Wall’s accounts are necessarily and logically
not funds involved in the laundering of diverted funds—they have never been diverted at all. Thus, as
to We Build the Wall’s funds, the Order logically cannot rest on the money laundering charge, and the
government makes no claim that it does.

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        If a person is charged in a criminal case with a violation of an Act of
        Congress for which the civil or criminal forfeiture of property is author-
        ized, the Government may include notice of the forfeiture in the indict-
        ment or information pursuant to the Federal Rules of Criminal Proce-
        dure. If the defendant is convicted of the offense giving rise to the forfei-
        ture, the court shall order the forfeiture of the property as part of the
        sentence in the criminal case pursuant to the Federal Rules of Criminal
        Procedure and section 3554 of title 18, United States Code. The proce-
        dures in section 413 of the Controlled Substances Act (21 U.S.C. 853)
        apply to all stages of a criminal forfeiture proceeding, except that sub-
        section (d) of such section applies only in cases in which the defendant
        is convicted of a violation of such Act.

28 U.S.C. § 2461(c).2 It is far from clear, however, that this provision (or its cross-

reference to the Controlled Substances Act), permits any pre-conviction restraint of

assets, let alone the ex parte restraint of a non-defendant’s assets with no opportunity

for the owner of those assets to challenge in a hearing the nexus between the property

and the charged crime.

        The Second Circuit has held that the pre-2006 version of this statute did not

authorize the pretrial restraint of assets alleged to be the proceeds of wire fraud at

all. United States v. Razmilovic, 419 F.3d 134, 136-37 (2d Cir. 2005).3 The Court

stated: “The distinction between forfeiture and pretrial restraint is no technical play

on words. Pretrial restraint is a severe remedy independent of a right to damages or


2 Although Section 2461(c) is cited in the Indictment as a basis for “forfeiture,” it is not cited in the
Order as a statutory basis for the Order’s “restraint” of property. We are not privy to whether Section
2461(c) was cited in the government’s sealed, ex parte application, or if that application cited or ex-
plained the import of the Second Circuit’s decision in United States v. Razmilovic, 419 F.3d 134, 136-
37 (2d Cir. 2005).
3 Prior to amendment, Section 2461(c) provided: “If a forfeiture of property is authorized in connection

with a violation of an Act of Congress, and any person is charged in an indictment or information with
such violation but no specific statutory provision is made for criminal forfeiture upon conviction, the
Government may include the forfeiture in the indictment or information in accordance with the Fed-
eral Rules of Criminal Procedure, and upon conviction, the court shall order the forfeiture of the prop-
erty in accordance with the procedures set forth in [21 U.S.C. § 853], other than subsection (d) of that
section.”


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property following a finding of liability. Indeed, the Supreme Court has dubbed pre-

trial restraint as a ‘“nuclear weapon” of the law.’” Id. at 137 (quoting Grupo Mexicano

de Desarrollo, S.A. v. Alliance Bond Fund, Inc., 527 U.S. 308, 332 (1999)). Thus, even

though Section 2461(c) cross-references the procedures of Section 853 (upon which

the government here relies), the Second Circuit held that Section 2461(c)’s authori-

zation of “criminal forfeiture” whenever “civil forfeiture” is authorized does not mean

that “pretrial restraint” is authorized. Some lower courts have read the 2006 amend-

ments to this subsection as undermining the Razmilovic analysis, see United States

v. Mann, 140 F. Supp. 3d 513, 527 (E.D.N.C. 2015); United States v. Capoccia, 2011

WL 1930677, at *5 (D. Vt. May 19, 2011); United States v. Dupree, 781 F. Supp. 2d

115, 129-30 (E.D.N.Y. 2011); United States v. Schlotzhauer, 2008 WL 320717, at *8-

9 (W.D. Mo. Feb. 4, 2008) (dicta, because the case did not involve criminal forfeiture

under Section 2461(c)), but the Second Circuit declined to decide whether Razmilovic

remains applicable. United States v. LaVilla, 553 F. App’x 45, 46 n.1 (2d Cir. Jan. 29,

2014). Thus, if Razmilovic remains the law of the Circuit, no pretrial restraint is per-

mitted at all.

II. CRIMINAL FORFEITURE PROCEEDINGS AGAINST THE DEFENDANTS CANNOT BE
    USED TO FORFEIT FUNDS NEVER OBTAINED BY THE DEFENDANTS

      As the government acknowledges, the Supreme Court has held that a defend-

ant may not be ordered to forfeit property that he himself did not acquire, yet it claims

that this holding has “no relevance.” (Opposition at 12 (citing Honeycutt v. United

States, 137 S. Ct. 1626 (2017))). On the contrary, it demonstrates that the govern-

ment’s attempt to use a case against defendants to restrain and forfeit We Build the


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Wall’s property (never acquired by any defendant) is invalid. As the Second Circuit

explained, “Forfeiture in criminal proceedings under 18 U.S.C. § 981 is an in perso-

nam proceeding. The forfeiture serves no remedial purpose, is designed to punish the

offender, and cannot be imposed upon innocent owners.” United States v. Contorinis,

692 F.3d 136, 146 (2d Cir. 2012) (emphasis added). “Thus, the calculation of a forfei-

ture amount in criminal cases is usually based on the defendant’s actual gain. . . .

District courts in our circuit have echoed this view by concluding that ‘a defendant

may be ordered to forfeit all monies received by him as a result of the fraud.” Id. at

147 (emphasis in original). In the context of this criminal case, therefore, the defend-

ants cannot be ordered to forfeit money that was not received by them and instead

was donated to We Build the Wall and that remains in the possession of We Build the

Wall. Likewise, We Build the Wall is not a guarantor for any monetary sanction or

restitution order that may be imposed on any defendant based on the alleged diver-

sion of funds from We Build the Wall. Thus, because there can be no forfeiture, there

can be no pretrial restraint of We Build the Wall’s funds. See 21 U.S.C. § 853(e) (au-

thorizing protective orders and temporary restraining orders to “preserve the availa-

bility of property” subject to forfeiture “under this section”—i.e., the proceeds of nar-

cotics offenses under subchapter I and II of Chapter 13 of Title 21); cf. United States

v. Bermudez, 413 F.3d 304, 306 (2d Cir. 2005) (interpreting Section 853’s references

to Section 853(a)’s definition of forfeitable property to instead cross-reference Section




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982(a)(1)’s definition, where the crime at issue was not a drug crime but instead was

a money laundering offense subject to Section 982).4

III. EVEN THE GOVERNMENT’S CASES RECOGNIZE THAT DUE PROCESS DEMANDS A
     HEARING ON RESTRAINED PROPERTY

        In support of its view that We Build the Wall’s funds can be restrained—ex

parte and without a hearing—in a case against the defendants, the government skips

over the civil forfeiture statute and cites directly to Section 853(a)(1)(A) and a number

of cases, but most of those cases conducted a constitutional due process analysis to

determine whether a hearing was required. United States v. Monsanto, 924 F.2d

1186, 1193-98 (2d Cir. 1991) (en banc) (analyzing due process requirements using

Mathews v. Eldridge, 424 U.S. 319 (1976), factors and holding that a post-seizure,

pre-trial hearing is required by the Fifth and Sixth Amendments); United States v.

E-Gold, Ltd., 521 F.3d 411 (D.C. Cir. 2008) (finding that ex parte initial seizure was

permitted, given exigencies of the particular facts, but finding that due process re-

quires a hearing to determine, pre-trial, the propriety of the initial seizure) (emphasis

added); United States v. Holy Land Foundation, 493 F.3d 469, 475 (5th Cir. 2007) (en

banc) (joining other circuits in relying on “the time-honored test of Mathews v. El-

dridge, 424 U.S. 319 (1976), to determine when a hearing is required”; applying test




4 It is difficult to see how Bermudez constitutes an interpretation of Section 853, rather than a re-
writing of it, but given its controlling gloss in a related context, it appears that the Second Circuit
would likely similarly interpret Section 853’s references to “this section” to instead refer to definitions
in Section 981 in the context of a Section 981 case. Thus, while not waiving the argument that Section
853 should be read according to its plain language (as permitting certain orders only in drug-related
forfeitures), movants recognize that, to the extent Bermudez is applicable to the Section 981 context,
this Court would be bound by Bermudez’s contrary reasoning.

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to find that no hearing was required for a claimant who is neither an owner of the

property seized nor a defendant) (emphasis added).5

        These cases—most notably the controlling authority of the Second Circuit’s

Monsanto decision—demonstrate that, even if a pre-restraint hearing is not always

required as a matter of due process (based on particular exigencies), due process re-

quires a post-seizure hearing to continue a restraining order. Monsanto, 924 F.2d at

1193-98. Under the Eldridge factors, the movants have a due process right to be

heard. First, We Build the Wall’s interest in using its property in furtherance of its

mission is strong—as noted in the Motion, the restraint has currently led to the ad-

ministrative dissolution of the entity, at the same time that it is working to transfer

a section of wall to the Department of Homeland Security. As also explained in the

Motion, Mr. Kobach’s interest is likewise fundamental and necessary to effect We

Build the Wall’s mission.6 Second, there exists a significant risk of an erroneous dep-

rivation of property, absent a hearing to test the government’s claimed probable cause

establishing that the restrained funds are, in fact, the proceeds of fraud. Indeed,

nearly all of those funds were received well after, as the Indictment acknowledges,

the website was updated to disclose Mr. Kolfage’s compensation. There can be no log-

ical or legal connection between donations made with knowledge of that



5 The government also inexplicably cites United States v. Bissell, 866 F.2d 1343, 1352 (11th Cir. 1989),
a case that is not only inapposite since it involved drug defendants who did not ask for a hearing on
the propriety of the seizure (they instead complained that no such hearing was held), but the Second
Circuit rejected the holding of Bissell in Monsanto, 924 F.3d at 1191.
6 The government incorrectly posits a conflict of interest because of counsel’s interest in being paid for

legal work—such a rule would set up a conflict any time a lawyer is paid by a client. Indeed, the
lawyers representing the United States would be equally conflicted by their interest in receiving their
salaries.

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compensation and an alleged fraud that concealed that compensation.7 Third, the

government’s interest, and any burden placed upon the government, does not justify

bypassing all process respecting the Order. The challenge here is to the nexus be-

tween the restrained We Build the Wall funds and the alleged fraud—“a technical

matter far removed from the grand jury’s core competence and traditional func-

tion.” Kaley, 571 U.S. at 331 n.9. The finding of probable cause to believe the crime

has been committed is not at issue in the Motion, see id. at 22, and thus the risks to

the prosecution from being forced to preview its case are not presented.

       Moreover, the government misconstrues Monsanto when it claims that Mon-

santo only protects a defendant’s Sixth Amendment right to counsel. (Opposition at

9). Monsanto spent five pages analyzing the due process factors of Eldridge, which

are expressly related to a Fifth Amendment, not Sixth Amendment, right. Id. at 1193.

And, while Monsanto noted (under the first of those factors) that the private interest

at stake in that case was particularly weighty because it involved not just the depri-

vation of property, but of property necessary to retain counsel of the defendant’s

choice, that analysis did not vitiate Monsanto’s invocation of the Fifth Amendment,

or in any way denigrate a property owner’s interest in using “his property in whatever

manner he sees fit,” free from government interference. Id.8



7 It is no answer for the government to point to the continuation of the conspiracy to the date the
Indictment was returned. Even if the conspiracy continued, that does not mean that it continued to
generate “proceeds” subject to forfeiture.
8 Because the movants are not defendants, and because the defendants are not the owners of the re-

strained funds, the private interest in using property free of government interference is greater, not
less, than it would be where a defendant’s funds are restrained. Thus, due process requires a hearing
to continue the restraint regardless of any need to show that the restrained funds are necessary to
retain counsel. However, in the event the Court requires a financial showing, We Build the Wall is

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IV. SECTION 853(K) IS INAPPLICABLE

       Because a hearing is required as a matter of due process, it is immaterial

whether, as the government claims, Section 853(k) purports to bar the Motion. But a

straightforward reading of that subsection demonstrates that it does not. Section

853(k) states:

       Except as provided in subsection (n), no party claiming an interest in
       property subject to forfeiture under this section may—(1) intervene in a
       trial or appeal of a criminal case involving the forfeiture of such property
       under this section; or (2) commence an action at law or equity against
       the United States concerning the validity of his alleged interest in the
       property subsequent to the filing of an indictment or information alleg-
       ing that the property is subject to forfeiture under this section.

21 U.S.C. § 853(k).

       As explained in the Motion (Motion at 18 n.5), the entire gravamen of the mo-

vants’ argument is that the funds in question—funds donated to We Build the Wall

well after the compensation-related disclosure alleged in the Indictment—are not

subject to forfeiture. In other words, the movants are not claiming a competing or

superior interest in tainted property, and thus Section 853(k) is inapplicable.

       Nor are the movants seeking to “intervene in a trial or appeal.” 21 U.S.C.

§ 853(k). The movants have no interest in participating in either the trial of the

charges in the Indictment, or in any appeal that may follow that trial. The movants’

interest is much more limited—we do not seek to intervene generally in the case, we

only seek modification of the Restraining Order, or, in the alternative, disclosure of




prepared to submit evidence in camera demonstrating that the restrained funds are necessary for it
to retain counsel and continue its operations.

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the relevant portions of the documents supporting it and a hearing. 9 For this reason

as well, Section 853(k) is inapplicable. Cf. Devlin v. Scardelletti, 536 U.S. 1, 14 (2002)

(holding that nonnamed class member who will be bound by class settlement to which

he objects has “the power to bring an appeal without first intervening”).

       Nor does the Motion constitute “an action at law or equity . . . concerning the

validity of [the movants’] alleged interest in the property.” 21 U.S.C. § 853(k). The

Motion is directed at the government’s inability to establish probable cause to believe

that all of the funds restrained are the proceeds of the charged crimes. Again, the

Motion is not asserting a competing or superior ownership interest in tainted prop-

erty. Finally, as argued in the Motion, the Indictment here does not purport to make

a probable cause finding that the property restrained is traceable to the fraud, as the

opposition concedes. (Opposition at 14). Since the indictment here makes no such

finding, Section 853(k)(2) does not apply.

       Nor does Section 853(k) categorically bar a Rule 41(g) motion, as the govern-

ment claims. Although the government cites a number of district court decisions

denying Rule 41(g) motions on the particular facts presented (Opposition at 9-10),

those decisions do nothing to undermine the controlling decision of the Second




9 As noted in our letter to the Court dated October 29, 2020, the government’s opposition incorrectly
states that the Motion requests the unsealing of the government’s ex parte application for the Order
and its ex parte supporting affidavit. (Opposition at 14). The government opposes such an unsealing
based on law enforcement interests. Id. at 14-16. Our motion did not make such a request. Rather, the
Motion requested that the movants be given access (subject to an appropriate protective order) to those
portions of the sealed ex parte submissions that purport to support probable cause that all donations
to We Build the Wall are the proceeds of crime. The limited access we request, and the request for an
appropriate protective order, serve to protect the law enforcement interests at stake, as well as the
non-parties’ due process rights; it is not the equivalent of blanket unsealing and public filing of the
entirety of the ex parte documents.

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Circuit, which refused to categorically deny the availability of Rule 41(g) as an equi-

table remedy, and expressly noted that the district court was free to reconsider and

grant a later Rule 41(g) application. De Almeida, 459 F.3d at 382-83. In other words,

controlling Second Circuit authority is fundamentally at odds with the government’s

claim that movants are attempting an “end-run” by invoking Rule 41(g). (Opposition

at 9).

V. THE GOVERNMENT’S EXTRA-JUDICIAL ATTEMPTS              TO   RESTRAIN PROPERTY      BY
   FIAT ARE UNCONSTITUTIONAL

         As noted above, the government has embraced its efforts to restrain property

by threat—restating its view that property never subjected to any court order is the

proceeds of crime and threatening criminal investigation or prosecution for any move-

ment of that property. (Opposition at 14). If the government were correct, it would

have no need of any court-issued restraining orders at all; it could simply “regulate

by prosecution” and investigate or charge (or threaten to do so) anyone who made use

of or transacted in property the government declared to be tainted. This type of uni-

lateral, draconian action flies in the face of the very statutes that the government has

invoked in seeking the Restraining Order. Moreover, it violates not only the Fifth

Amendment, but also the Fourth Amendment. The Second Circuit confronted just

such informal, extra-judicial attempts at seizing funds in United States v. Cosme, 796

F.3d 226 (2d Cir. 2015), and found a clear violation of the Fourth Amendment. In

Cosme, as here, the government sought a judicial restraining order, but it also sought

to restrain property—two bank accounts belonging to the defendant—extrajudicially

and by fiat: “The government delivered letters to Scottrade and Sterling National


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Bank requesting that they freeze Cosme’s accounts, believed to contain proceeds of

unlawful activity.” Id. at 229. The government claimed it had “probable cause” to

believe the accounts were subject to forfeiture and claimed to be “in the process of

obtaining a seizure warrant.” Id. The government was not, in fact, “in the process of”

obtaining a warrant, and indeed, never sought a warrant. Id. at 230. The Second

Circuit held that this informal, extrajudicial attempt to restrain assets amounted to

an unconstitutional, warrantless seizure in violation of the Fourth Amendment. Id.

at 235.

      The government’s threats and intimations, designed to chill counsel and We

Build the Wall from utilizing donated funds that were intended to support the or-

ganization and its mission, are no different than the extrajudicial letters at issue in

Cosme; this Court should reject them as unconstitutional attempts to seize property

without a warrant.

      The government’s actions are not only unlawful, they are also detrimental to

the interests of the donors. Donors to We Build the Wall contributed funds to the

organization so that it might continue its mission—including building a third section

of border wall and transferring title to its first section of border wall to the Depart-

ment of Homeland Security. That mission is now at a standstill, and the organization

itself is facing administrative dissolution. Whether or not that was the intent of the

government, that has been the result, and that is certainly contrary to the interests

of the donors.




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                                     CONCLUSION

      For the foregoing reasons, and for those stated in the Motion, the Court should

(i) modify the Order to release funds that are not proceeds of crime; or (ii) provide

access to Kris Kobach and We Build the Wall to the pertinent portions of documents

submitted ex parte in connection with the Order’s restraint of We Build the Wall’s

funds; and (iii) hold a hearing to determine whether there is probable cause support-

ing the traceability of the funds to the alleged fraud.


Dated:       November 2, 2020                   Respectfully submitted,



/s/ Kris Kobach                                 ________________________________
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